                          Case 1:23-mj-05635-JGD
2-6   5HYLVHG86'&0$         Document 1-2 Filed 12/14/23 Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: MA                     Category No.       II                    Investigating Agency                USMS

City    Boston                                 5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                               &DVH1R
County       Suffolk
                                                6DPH'HIHQGDQW                                 1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU             23-mj-5635-JGD

                                                6HDUFK:DUUDQW&DVH1XPEHU
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                               <HV       ✔ 1R
'HIHQGDQW1DPH         Christopher;DYLHUBrodeur                                                          -XYHQLOH       G <HV         ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                G <HV         ✔ 1R
$OLDV1DPH
$GGUHVV               Dover, New Hampshire

                      1967) 661 ODVW BBBBB
%LUWKGDWH <URQO\ BBBBBB             6894             M
                                                       6H[BBBBBB               White
                                                                           5DFHBBBBBBBBBBBBBBB                        American
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       Suzanne Sullivan Jacobus                                  %DU1XPEHULIDSSOLFDEOH 565071

Interpreter:              <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:        ✔ <HV         1R        ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G              G <HV         ✔
                                                                                                                                          1R

Matter to be SEALED:               ✔ <HV             1R

✔ :DUUDQW5HTXHVWHG                 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                          
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                   $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                               RQ

Charging Document:                 ✔ &RPSODLQW                 G ,QIRUPDWLRQ                              ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ Two

                                       &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 12/1/2023                            6LJQDWXUHRI$86$        V6X]DQQH6XOOLYDQ-DFREXV
                         Case 1:23-mj-05635-JGD Document 1-2 Filed 12/14/23 Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                    &KULVWRSKHU;DYLHU%URGHXU
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged       Count Numbers

6HW
          18U.S.C.§87(c)                            0DLOLQJ7KUHDWHQLQJCommunication          1

6HW
          18U.S.C.§87(c)                            0DLOLQJ7KUHDWHQLQJCommunication           2

6HW


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86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
